                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

NIKKI BOLLINGER GRAE, ET AL.,                        )
                                                     )
       Plaintiffs,                                   )
                                                     )
v.                                                   )       Civil No. 3:16-cv-02267
                                                     )       Judge Trauger
CORRECTIONS CORPORATION                              )
OF AMERICA, ET AL.,                                  )
                                                     )
       Defendants.                                   )

                                             ORDER

       The plaintiffs have filed a Motion for Partial Summary Judgment (Doc. No. 347) without

seeking leave of court, as required in the Initial Case Management Order (Doc. No. 88 at 8).

Given the status of this case and the nature of the motion, the court will allow the motion, and the

timetable for briefing will proceed as if the motion were filed with leave on November 20, 2020.

       It is so ORDERED.



                                                     ________________________________
                                                     ALETA A. TRAUGER
                                                     U.S. District Judge




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